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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK                                                     Date Filed:1/15/25
         ----------------------------------------------------------------X,     Index No. 150767/2025
         SCOTT DEFALCO, JOHN AMBRONSINO,
         FELICIA WHITELY, AND ANDERSON THIMOTE
         on behalf of himself and others similarly situated

                                            Plaintiff,                          SUPPLEMENTAL SUMMONS

                  -against-                                                     Plaintiff designates
                                                                                New York County as the place
                                                                                of trial pursuant to CPLR 503

         THE CITY OF NEW YORK, PRIMARK
         CORPORATION, PRIMARK US CORP ZARA
         USA, INC., ROCKEFELLER CENTER, INC.,
         and BRYANT PARK CORPORATION

                                             Defendants.
         ---------------------------------------------------------------X

         TO THE ABOVE NAMED DEFENDANTS:

                 YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
         a copy of your Answer, or if the complaint is not served with the summons, to serve a notice of
         appearance on Plaintiff’s attorney within twenty (20) days after service of this summons, exclusive
         of the day of service, (or within thirty (30) days after service is complete, if this summons is not
         personally delivered to you within the State of New York); and in case of your failure to answer,
         judgment will be taken against you by default for the relief demanded hereto.

         Dated:           New York, New York
                          January 15, 2025                             Yours, etc.

                                                                       /s/ John Scola_________________________
                                                                       John Scola
                                                                       Law Office of John A. Scola, PLLC
                                                                       Attorneys for the Plaintiff Scott Defalco, on
                                                                       behalf of themselves and others similarly
                                                                       situated
                                                                       90 Broad Street, 10th Floor
                                                                       New York, NY 10004
                                                                       (917) 423-1445




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         DEFENDANTS ADDRESS:
         City of New York
         Corporation Counsel of the City
         Of New York
         100 Church Street
         New York, NY 10007

         PRIMARK US CORP
         99 Washington Ave, 6th Floor
         Albany, NY 12231

         ZARA USA INC.
         500 Fifth Avenue, Suite 400
         New York, NY 10110

         ROCKEFELLER CENTER, INC.,
         1271 Avenue of the Americas, 24th Floor
         New York, NY 10020

         BRYANT PARK CORPORATION
         1065 Avenue of the Americas, Suit 2400
         New York, NY 10018




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         COUNTY OF NEW YORK
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         SCOTT DEFALCO, JOHN AMBRONSINO,
         FELICIA WHITELY, AND ANDERSON THIMOTE
         on behalf of himself and others similarly situated
                                                                         VERIFIED
                                             Plaintiffs                 CLASS AND COLLECTIVE
                                                                         ACTION FIRST
                                                                         AMENDED COMPLAINT
                       v.

         THE CITY OF NEW YORK, PRIMARK
         CORPORATION, PRIMARK US CORP ZARA
         USA, INC., ROCKEFELLER CENTER, INC.,
         and BRYANT PARK CORPORATION                                JURY TRIAL DEMANDED

                                            Defendants
         _________________________________________________X
               Plaintiff Scott Defalco, John Ambronsino, Anderson Thimote, and Felicia Whitely on

         behalf of themselves and others similarly situated, by and though their attorneys the Law Office

         of John A. Scola, PLLC, Goddard Law, PLLC and Charny & Wheeler P.C., hereby allege as

         follows against Defendants City of New York and the New York City Police Department (referred

         to as the “NYPD”), and Primark US Corp. (“Primark”) (collectively with NYPD, “Defendants”).

                                         NATURE OF THE CLAIMS

                1.     For all relevant time to this Complaint, the NYPD has operated its “Paid Detail

         Program,” whereby the NYPD staffs Police Officers, Detectives, Sergeants, Lieutenants and

         Captains at private businesses throughout New York City, including those owned and operated

         by Defendants City of New York, Primark, Bryant Park, Zara and Rockefeller Center, to perform

         off-duty uniformed security work for hourly pay.




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                2.      The compensation and terms and conditions of employment of the NYPD Officers

         assigned to work at Primark, Bryant Park, Zara and Rockefeller Center are jointly controlled by

         the Defendants.

                3.      For all relevant time to this Complaint, Defendants have engaged in a pattern and

         practice of failing to compensate Plaintiffs and other similarly situated Officers for the work they

         perform at Primark, Bryant Park, Zara and/or Rockefeller Center through the Paid Detail Program,

         and when paid at all, such payment is received long after the Plaintiffs’ scheduled pay days.

                3.         Plaintiffs bring this action against the Defendants for Wage Theft under both the

         Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. (“FLSA”), the New York Labor Law, N.Y.

         Lab. Law §§ 1, et seq. (“NYLL”), and in the alternative the Freelance Isn’t Free Act, N.Y.C.

         Admin. Code §§ 20-927, et seq. (“FIFA”).

                4.         The FLSA claims are brought as a collective action pursuant to 29 U.S.C. §

         216(b), on behalf of the Plaintiffs and all other similarly situated NYPD Officers (defined herein)

         employed by the NYPD and Primark, Bryant Park, Zara and/or Rockefeller Center who

         participated in the Paid Detail Program at any time during the full statute of limitations period.

                 5.        The NYLL claims and the FIFA claims are brought as a class action pursuant to

          Article 9 of the CPLR on behalf of the Plaintiffs and all other similarly situated Officers,

          employed by the NYPD and Primark, Bryant Park, Zara and/or Rockefeller Center who

          participated in the Paid Detail Program at any time during the full statute of limitations period.

                 6.        The Defendants have additionally violated New York’s Wage Theft Prevention

          Act by completely disregarding the obligation to provide the Plaintiffs and those similarly

          situated with the required Notices of Pay Rate and accurate Wage Statements.

                                           JURISDICTION and VENUE




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                 7.      Jurisdiction is conferred upon this Court by New York Labor Law Section 198.

                 8.      Venue is proper in this Court pursuant to CPLR 503(a) in Defendant NYPD

          principle place of business is in New York County.

                                                         PARTIES

                                                   Plaintiff Scott Defalco

                 3.      Plaintiff is a resident of the State of New York, County of Richmond, and has

          been employed by the Defendants from 2013 until the present.

                 4.      Plaintiff Defalco was an “employee” of Defendants within the meaning of

          all relevant statutes and regulations.

                                             Plaintiff John Ambronsino

                 5.      Plaintiff is a resident of the State of New York, County of Orange, and has been

          employed by the Defendants from 2013 until the present.

                 6.      Plaintiff Ambronsino was an “employee” of Defendants within the meaning of

          all relevant statutes and regulations.

                                               Plaintiff Felicia Whitely

                 7.      Plaintiff is a resident of the State of New York, County of Queens, and has been

          employed by the Defendants from 2006 until the present.

                 8.      Plaintiff Whitely was an “employee” of Defendants within the meaning of

          all relevant statutes and regulations.

                                             Plaintiff Thimote Anderson

                 9.      Plaintiff is a resident of the State of New York, County of Suffolk, and has been

          employed by the Defendants from 2015 until the present.




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                 10.     Plaintiff Anderson was an “employee” of Defendants within the meaning of

          all relevant statutes and regulations.

                                         Defendant CITY OF NEW YORK

                 3.      The City of New York is a municipal corporation that controls and oversees, inter

          alia, the operations of the NYPD throughout its five boroughs.

                 4.      At all relevant times, the City of New York controlled and directed the terms

          of employment and compensation of Plaintiffs, and all persons similarly situated.

                 5.      At all relevant times, the City of New York established, implemented,

          disseminated, and controlled the employment policies applicable to Plaintiffs and all

          persons similarly situated, including, inter alia, policies concerning timekeeping, work

          allocation, task supervision, monitoring work product, payroll applicable to Plaintiffs and all

          persons similarly situated.

                 6.      At all relevant times, the City of New York maintained and exercised authority

          to hire, fire, discipline, and promote Plaintiffs and all persons similarly situated.

                 7.      At all relevant times, the City of New York was an “employer” within the

          meaning of all relevant statutes and regulations.

                                Defendant New York City Police Department
                 8.      The NYPD is a public administrative agency that controls and oversees the police

          throughout the City of New York’s five boroughs.

                 9.      The NYPD maintains its principal office at One Police Plaza, New York,

          NY 10038.

                 10.     At all relevant times, the NYPD controlled and directed the terms of employment

         and compensation of Plaintiffs and all persons similarly situated.




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                  11.    At all relevant times, the NYPD established, implemented, disseminated,

          and controlled the employment policies applicable to Plaintiffs and all persons similarly

          situated, including, inter alia, policies concerning timekeeping, work allocation, task

          supervision, monitoring work product, payroll applicable to Plaintiffs and all persons similarly

          situated.

                  12.    At all relevant times, the NYPD maintained and exercised authority to hire,

          fire, discipline, and promote Plaintiffs and all persons similarly situated.

                  13.    At all relevant times, the NYPD was an “employer” within the meaning of

          all relevant statutes and regulations.

                                            Defendant Primark US Corp

                  14.    Upon information and belief Defendant Primark is a domestic corporation with

          its principal place of business located at 99 Washington Ave, 6th Floor Albany, NY 12231,

          authorized to do business in the State of New York.

                  3.     Primark participates in the NYPD’s Paid Detail Program.

                  4.      At all relevant times, Primark controlled and directed the terms of employment

          and compensation of Plaintiffs, and all persons similarly situated.

                  5.      At all relevant times, Primark established, implemented, disseminated, and

          controlled the employment policies applicable to Plaintiffs and all persons similarly situated,

          including, inter alia, policies concerning timekeeping, work allocation, task supervision,

          monitoring work product, payroll applicable to Plaintiffs and all persons similarly situated.

                  6.      At all relevant times, Primark maintained and exercised authority to hire, fire,

          discipline, and promote Plaintiffs and all persons similarly situated.




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                 7.      At all relevant times, Primark was an “employer” and/or “hiring party” within

          the meaning of all relevant statutes and regulations.

                                        Defendant Bryan Park Corporation

                 3.      Upon information and belief Defendant Bryant Park is a domestic corporation

          with its principal place of business located at 1065 Avenue of the Americas, Suite 2400, New

          York, NY 10018 , authorized to do business in the State of New York.

                 8.      Bryant Park participates in the NYPD’s Paid Detail Program.

                 9.      At all relevant times, Bryant Park controlled and directed the terms of

          employment and compensation of Plaintiffs, and all persons similarly situated.

                 10.      At all relevant times, Bryant Park established, implemented, disseminated, and

          controlled the employment policies applicable to Plaintiffs and all persons similarly situated,

          including, inter alia, policies concerning timekeeping, work allocation, task supervision,

          monitoring work product, payroll applicable to Plaintiffs and all persons similarly situated.

                 11.      At all relevant times, Bryant Park maintained and exercised authority to hire,

          fire, discipline, and promote Plaintiffs and all persons similarly situated.

                 12.     At all relevant times, Bryant Park was an “employer” and/or “hiring party” within

          the meaning of all relevant statutes and regulations.

                                             Defendant Zara USA Inc.

                 13.     Upon information and belief Defendant Zara is a domestic corporation with its

          principal place of business located at 500 Fifth Avenue, Suite 400, New York, NY 10110,

          authorized to do business in the State of New York.

                 14.     Zara participates in the NYPD’s Paid Detail Program.




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                 15.     At all relevant times, Zara controlled and directed the terms of employment and

          compensation of Plaintiffs, and all persons similarly situated.

                 16.     At all relevant times, Zara established, implemented, disseminated, and

          controlled the employment policies applicable to Plaintiffs and all persons similarly situated,

          including, inter alia, policies concerning timekeeping, work allocation, task supervision,

          monitoring work product, payroll applicable to Plaintiffs and all persons similarly situated.

                 17.     At all relevant times, Zara maintained and exercised authority to hire, fire,

          discipline, and promote Plaintiffs and all persons similarly situated.

                 18.     At all relevant times, Zara was an “employer” and/or “hiring party” within the

          meaning of all relevant statutes and regulations.

                                        Defendant Rockefeller Center, Inc.

                 19.     Upon information and belief Defendant Rockefeller is a domestic corporation

          with its principal place of business located at 1271 Avenue of the Americas, 24th Floor New

          York, NY 10020, authorized to do business in the State of New York.

                 20.     Rockefeller participates in the NYPD’s Paid Detail Program.

                 21.     At all relevant times, Rockefeller controlled and directed the terms of

          employment and compensation of Plaintiffs, and all persons similarly situated.

                 22.     At all relevant times, Rockefeller established, implemented, disseminated, and

          controlled the employment policies applicable to Plaintiffs and all persons similarly situated,

          including, inter alia, policies concerning timekeeping, work allocation, task supervision,

          monitoring work product, payroll applicable to Plaintiffs and all persons similarly situated.

                 23.     At all relevant times, Rockefeller maintained and exercised authority to hire, fire,

          discipline, and promote Plaintiffs and all persons similarly situated.




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                  24.      At all relevant times, Rockefeller was an “employer” and/or “hiring party” within

          the meaning of all relevant statutes and regulations.



                                                       FACTS

                A. Background
                25.   In or around the Spring of 1998, the NYPD created the Paid Detail Program

          (“PDP”) to allows employees of the NYPD to perform off-duty uniformed security work within

          New York City.

                  26.      The primary purpose of the PDP is to provide a highly visible police presence at

          participating businesses.

                  27.      NYPD personnel who hold any of the following titles may participate in the PDP:

                  (i) Police Officer; (ii) Detective; (iii) Sergeant; (iv) Lieutenant or (v) Captains

         (collectively, “Officers”).

                  28.      The PDP is the only authorized program for businesses to employ uniformed off-

          duty Officers.

                  29.      The PDP allows, with limited exceptions, any event planner, corporation, or

          interested organization approved by the NYPD to employ Officers part-time to provide

          uniformed security work.

                  30.      Officers are assigned to work at various businesses through the PDP,

          including, inter alia: (i) retail chains; (ii) department stores; (iii) supermarkets; (iv) houses

          of worship; (v) sports complexes; (vi) banks; and (vii) office buildings.

                  31.      The NYPD and the various Vendors work in concert to control all aspects

          of Officers’ employment through the PDP.

                B. NYPD’s Administration of the PDP and Employment of Officers




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                        i. Approval and Denial of Businesses

                 32.     The NYPD must approve a business before it is permitted to employ Officers

          through the PDP.

                 33.     The NYPD sets the parameters for business participation in the PDP.

                 34.     The NYPD allows, with limited exceptions, any event planner, corporation, or

          interested organization to qualify for the PDP, subject to the NYPD’s approval.

                 35.     The NYPD excludes, inter alia, government and quasi-governmental entities and

          personal protection or bodyguard companies from participating in the PDP.

                 36.     To qualify, businesses are required to provide various information requested by

          the NYPD.

                 37.     The NYPD also performs a general background and credit check of each

          business.

                 38.     After the NYPD reviews a business’s responses, background information, and

          credit information, it requires the business to sign a “Participation Agreement” and submit a

          certificate of insurance.

                 39.     Finally, the Commissioner of the NYPD reviews the signed Participation

          Agreement and certificate of insurance before granting or denying final approval for the business

          to participate in the PDP.

                        ii. Approval or Denial of NYPD Employees to Qualify as Officers

                 40.     The NYPD also sets the parameters for Officers to participate in the PDP.

                 41.      To qualify, an Officer must meet various criteria, including, inter alia, possessing

          greater than one year of service in the NYPD and maintaining full duty status throughout the

          duration of the Officer’s participation in the PDP.




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                  42.     The NYPD excludes employees who are considered chronically sick, on

          performance monitoring, or in possession of “position limitations.”

                  43.     Further, the NYPD limits participation in the PDP to personnel holding specific

          titles and ranks.

                  44.     NYPD employees must obtain approval from their commanders and submit a

          written application, as well as tax documentation, to be considered for participation in the PDP.

                  45.     Further, the NYPD’s Paid Detail Unit reviews each applicant’s work record

          before approving him or her to participate in the PDP.

                  46.     The NYPD maintains authority to unilaterally remove an Officer from the PDP

          if he or she is promoted or transferred to a position that disqualifies him or her, or is placed

          on performance monitoring.

                         iii. Direction and Control of PDP Details

                  47.     The NYPD maintains direction, control, and supervision of the assignment

          of Officers to PDP details.

                  48.     Further, the NYPD maintains and operates an online portal through which

          participating businesses may schedule Officers to perform off-duty uniformed security work.

                  49.     The NYPD controls when businesses may schedule Officers for details and

          requires that details last from four to 12 hours.

                 50.     The NYPD evaluates each requested detail and, based on its assessment of

         safety and security concerns, determines the minimum number of Officers necessary for

         assignment, as well as the number of Officers required to supervise.

                 51.     The NYPD also controls and determines when Officers may accept details and

         the number of hours per month Officers may work the same.




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                52.     The NYPD limits Officers with more junior ranks, such as Police Officer

         or Detective, to a maximum of 80 hours of PDP work per month.

                53.     The NYPD limits Officers with the more senior ranks, such Sergeant or

         Lieutenant, to a maximum of 30 hours of PDP work per month.

                54.     The NYPD prohibits Officers from working PDP assignments within three

         hours of the start of their regularly scheduled non-PDP tours.

                55.     Similarly, the NYPD prohibits Officers from working PDP assignments within

         one hour of the end of their regularly scheduled non-PDP tours.

                56.     The NYPD requires Officers to complete Paid Detail Cards for each PDP

         detail they work.

                57.     The NYPD prohibits Officers from trading PDP details with one another.

                58.     Per its policies, the NYPD suspends Officers who request PDP details on behalf

         of other Officers or perform PDP details originally assigned to another Officer without the

         NYPD’s prior authorization.

                59.     The NYPD also requires that Officers provide documentation to their NYPD

         supervisors in the event they have to cancel a previously scheduled PDP detail.

                60.     Officers who fail to provide such documentation risk being deemed ineligible

         for future PDP assignments.

                61.     The NYPD prohibits Officers from working for participating businesses,

         including the Vendors, outside of the PDP.

                62.     Officers who schedule details directly with a participating business are

         disciplined and deemed ineligible for future PDP assignments.

                       iv. Control Over Officers’ Uniforms and
                           Physical Appearance on PDP Details




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                63.     The NYPD maintains control and direction over the uniforms and physical

         appearance of Officers on PDP details.

                64.     The NYPD establishes and enforces a dress code for all Officers on PDP details.

                65.     The NYPD mandates that Officers wear NYPD-approved clothing on PDP

         details, including full uniforms, vests, and eight-point caps.

                66.     The NYPD prohibits Officers from wearing, inter alia, baseball caps, raid jackets,

         and other non-uniform apparel.

                67.     The NYPD requires Officers to conform to the same grooming and appearance

         standards applicable to Officers on regularly scheduled non-PDP tours.

                68.     The NYPD directs Officers to bring NYPD-issued radios, batons, and activity

         logs on PDP assignments.

                69.     The NYPD subjects Officers to inspection by NYPD supervisors to ensure

         compliance with PDP uniform and physical appearance requirements.

                        v. Control Over Officers’ Work During PDP Details

                70.     The NYPD maintains direction, control, and supervision of the work performed

         by Officers during PDP details.

                71.      Upon arrival at a participating business, the NYPD commands Officers to report

         to the business’s representative or to the ranking Officer supervising the detail.

                72.     Additionally, the NYPD directs Officers to sign in on a Paid Detail Attendance

         Sheet when they arrive.

                73.     The NYPD cautions Officers that they are subject at all times to NYPD rules and

         regulations while working on PDP details.




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                74.     The NYPD assigns high-ranking officials, such as Sergeants, Lieutenants, and

         Captains, to perform daily rounds of PDP details to monitor Officers’ work.

                75.     The NYPD mandates that Officers report to the NYPD any arrests or Officer

         injuries that occur on PDP details.

                76.     At the conclusion of a PDP detail, the NYPD directs Officers to sign out on a Paid

         Detail Attendance Sheet and present a Paid Detail Card to the participating business’s

         representative or the ranking Officer for signature.

                77.     The NYPD instructs participating businesses to report any Officer who breaches

         NYPD standards.

                78.     The NYPD also instructs participating businesses to report any Officer who

         breaches the business’s own internal policies.

                79.     The NYPD disciplines Officers who breach NYPD standards or a business’s

         policies on a PDP detail by, inter alia: (i) removing the given Officer from the detail; (ii) banning

         the Officer from future details with a specific business; (iii) suspending an Officer’s PDP

         eligibility; or (iv) expelling an Officer from participation in the PDP completely.

                        vi. Control Over Officers’ Wages

                80.     The NYPD directs and controls the manner in which Officers are paid through the

         PDP.

                81.     The NYPD establishes uniform hourly rates based on each Officer’s rank.

                82.     The NYPD has set an hourly rate of $41.00 for Officers with the rank of Police

         Officer or Detective.

                83.     The NYPD also charges participating businesses an administrative fee of $4.10

         for each hour of PDP work performed by a Police Officer or Detective.




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                 84.    The NYPD has set an hourly rate of $51.00 for Officers with the rank of Sergeant.

                 85.    The NYPD also charges participating businesses an administrative fee of $5.10

         for each hour of PDP work performed by a Sergeant.

                 86.    The NYPD has set an hourly rate of $57.00 for Officers with the rank of

         Lieutenant.

                 87.    The NYPD also charges participating businesses an administrative fee of $5.70

         for each hour of PDP work performed by a Lieutenant.

                 88.    The NYPD has set an hourly rate of $87.00 for Officers with the rank of Captains.

                 89.    The NYPD also charges participating businesses an administrative fee of $8.70

         for each hour of PDP work performed by a Captain.

                 90.    The NYPD directs and controls the employment status of Officers, mandating that

         Officers are classified (incorrectly) as independent contractors for PDP details.

                 91.    The NYPD requires payment to Officers on an IRS Form 1099, as opposed to an

         IRS Form W-2.

                 92.    The NYPD directs Officers to list 1 Police Plaza, New York, New York 10038

         (rather than the Officers’ home addresses) when completing tax forms for PDP details.

                 93.    The NYPD administers payment to Officers through the NYPD’s Paid Detail

         Unit.

                 94.    The NYPD does not permit participating businesses to pay Officers directly.

                 C. Primark’s Participation in the PDP and Employment of Officers

                 95.    For all relevant times, Defendant Primark (herein the “Vendor Defendants”)

         obtained and maintained approval to employ Officers as part of the PDP.




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                96.     Once so approved the Vendor Defendants in their own regard coordinated and

         continue to coordinate with the NYPD to assess how many Officers the business needs to staff

         a particular PDP detail.

                97.     The Vendor Defendants direct and control the dates Officers work on PDP details.

                98.     The Vendor Defendants, post solicitations on the PDP portal for Officers to view

         and ultimately accept.

                99.     By way of a “Participation Agreement entered into between the Vendor

         Defendants and NYPD, the Vendor Defendants agree to pay Officers at the uniform hourly rates

         set forth in the PDP.

                100.    Once an Officer is hired, the Vendor Defendants direct and control the Officers

         throughout the PDP detail.

                101.    The Vendor Defendants direct Officers to the exact location where they are to

         work throughout the PDP detail.

                102.    The Vendor Defendants determine the meal and break policies for Officers and

         dictate the circumstances under which an Officer may intervene, such as by detaining a customer

         suspected of theft.

                103.    The Vendor Defendants require Officers to report their work in Activity Logs at

         thirty minute intervals throughout their PDP detail.

                104.    The Vendor Defendants subject Officers to discipline and report Officers to the

         NYPD for failing to follow the Vendor Defendants’ policies.

                105.    The Vendor Defendants enforce NYPD standards in the same manner, by

         reporting Officers for failing to comply with the same.




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                106.    The Vendor Defendants control the staffing of Officers insofar as the Vendor

         Defendants may decline an Officer who accepts a detail through the PDP portal.

                107.    The Vendor Defendants possess the power to extend an Officer’s PDP detail past

         its scheduled end time.

                108.    The Vendor Defendants direct and control when Officers are paid for work

         performed on PDP details.

                D. Failure to Pay the Minimum Wage and Timely Wages

                109.    The Defendants agree to pay Plaintiffs and all other Officers an established

         hourly rate based on the Officer’s respective NYPD rank for all work performed on a PDP.

                110.    The established hourly rates are communicated by the Defendants to the Plaintiffs

         on the PDP portal where Plaintiffs and all other Officers accept PDP details.

                111.    Plaintiffs and all other Officers’ pay day is every other Friday, covering the pay

         period of the previous 14-days including the pay day.


                112.    Defendants routinely fail to pay Plaintiffs and all other Officers for PDP details

         at all, and when paid the delay is weeks, and even months after Officers complete the PDP details.

                113.    Defendants have engaged in a pattern and practice of denying Plaintiffs and all

         other Officers minimum wages and all earned wages at their regular rates of pay.


                E. Failure to Provide Notice of Pay Rate and Accurate Wage Statements

                114.    New York’s Wage Theft Prevention Act requires that employers, including

         D e f e n d a n t s , provide employees, “at the time of hiring, a notice containing the following

         information: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

         salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

         including tip, meal, or lodging allowances; the regular pay day designated by the employer [




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         ]; the name of the employer; any ‘doing business as’ names used by the employer; the physical

         address of the employer’s main office or principal place of business, and a mailing address

         if different; the telephone number of the employer; plus such other information as the

         commissioner deems material and necessary,” which is commonly referred to as a Notice of Pay

         Rate.

                 115.   Throughout the statutory period, the Defendants have never provided Plaintiffs or

         any other Officer with a Notice of Pay Rate.

                 116.   The NYLL also requires that employers, including Defendant Primark issue or

         provide employees with accurate wage statements with each payment of wages.

                 117.   Defendant Primark never furnished Plaintiffs or any of the other Officers with

         accurate wage statements during the statutory period.


                 G. Plaintiff Scott Defalco


                        i. Background

                 118.   Plaintiff Defalco was hired as a police officer for the Defendant CITY on January

         9, 2013.

                 119.   Plaintiff Defalco was promoted to Sergeant by the Defendant CITY on November

         24, 2020.

                 120.   Plaintiff Defalco first began participating in the PDP for the Defendant CITY in

         2022.

                 121.   At all times herein Plaintiff Defalco excelled in his role as a police officer, and

         sergeant.

                 122.   Plaintiff Defalco first worked for Defendant Primark in April 2024.




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                  123.   At all times during his PDP detail on that date and thereafter, Defendant

         Primark collectively and jointly supervised and controlled the terms of Plaintiff Defalco’s

         employment by, inter alia, assigning Plaintiff a radio and directing him as to: (1) the specific

         instructions and directions for the work he was to perform; (2) the specific policies and

         regulations Plaintiff was required to follow while working for D e f e n d a n t Primark; (3) the

         conduct or behavior that was prohibited verses what was expected while working for Defendant

         Primark; (4) the specific areas he was required to monitor and the manner in which he was

         required to patrol them; (5) suspicious activity he was required to look out for; (6) the manner

         in which he was required to respond to various incidents; (7) the specific time he was permitted

         to take a meal break; (8) what he was required to do upon his return from lunch; (9) which

         other Officers he was required to relieve; (10) which third party vendors were allowed on the

         premises and under what circumstances; (11) which individuals were permitted into the building

         and which were prohibited; and (12) the manner in which he maintained his appearance,

         including the requirement that Plaintiff wear his eight-point hat throughout the entirety of the

         shift.

                  124.   In total, Plaintiff has worked approximately 80 PDP details for Defendants at

         Defendant Primark.

                  125.   Plaintiff Defalco first worked for Defendant in April 2024.


                         ii. Wage Violations by NYPD and Primark

                  126.   Defendants NYPD and Primark failed to properly pay Plaintiff for his hours

         worked on PDP details in several ways.

                  127.   Defendants NYPD and Primark failed to timely pay Plaintiff for the hours worked

         on PDP details.




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                128.   Throughout the statutory period, Plaintiff’s regularly scheduled pay day is/was

         every other Friday, covering the previous 14-day time frame, including the Friday payday.

                129.   However, Defendants NYPD and Primark routinely failed to pay Plaintiff for

         his PDP tours on his regularly scheduled pay day.

                130.   For example, on October 8, 2024, Plaintiff worked from 16:00 x 21:00 at the

         Primark Store located at 445 Albee Square West, Brooklyn NY.

                131.   To date the Defendants have not paid Plaintiff for the aforementioned tour.

                132.   On October 16, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                133.   To date the Defendants have not paid Plaintiff for the aforementioned tour.

                134.   On November 21, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                135.   To date the Defendants have not paid Plaintiff for the aforementioned tour.

                136.   On December 2, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                137.   To date the Defendants have not paid Plaintiff for the aforementioned tour.

                138.   On December 7, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                139.   To date the Defendants have not paid Plaintiff for the aforementioned tour.

                140.   On December 9, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                141.   To date the Defendants have not paid Plaintiff for the aforementioned tour.




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                142.    On December 13, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                143.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                144.    On December 16, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                145.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                146.    On December 17, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                147.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                148.    On December 21, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                149.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                150.    On December 23, 2024, Plaintiff worked from 16:00 x 21:00 at the Primark Store

         located at 445 Albee Square West, Brooklyn NY.

                151.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                152.    To date the Defendants have not paid Plaintiff for the aforementioned tour.

                153.    The Defendants have yet to pay Plaintiff for any of the aforementioned tours that

         he worked dating back to October 2024.

                154.    Several other Officers have confirmed to Plaintiff that Defendants also failed

         to timely pay their wages.

                155.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Primark has been subject to the same pattern and practice of failure to pay.




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                156.    As such, the Defendants have failed to compensate Plaintiff, in violation of the

         minimum wage required to pay workers in New York State under both Federal and State law.

                157.    By so acting, the NYPD and Defendant Primark have paid Plaintiff below the

         federal and state minimum wage rates and below his regular rate of pay for all hours worked.

                158.    To the extent Plaintiff Defalco and those similarly situated have received any

         payments for his work for NYPD and Primark, it has been several months late, on multiple

         occasions.

                159.    This has continued for more than a year.

                160.    In fact, some police officers have stopped working for Primark due to their refusal

         to timely pay the officers for the tours that they worked in accordance with the law.

                161.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Primark has been subject to the same pattern and practice of significant delays in

         payment, to the extent they are paid.

                162.    Plaintiff Defalco and others similarly situated have work hours for NYPD and

         Primark that caused their weekly total to exceed forty hours.

                163.    For example in December 16 and 17, 2024, Plaintiff worked 10:00 hours for

         Defendant Primark, a period of time that brought his weekly total in excess of forty hours.

                164.    NYPD and Primark have failed to pay to Plaintiff Defalco the mandatory overtime

         premium for the hours worked in excess of forty.

                165.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Primark has been subject to the same pattern and practice of being denied overtime

         pay when PDP hours cause the Officer to exceed forty in the week.




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                166.      Defendant Primark never provided accurate Wage Statements for any of the PDP

         details that Plaintiff Defalco completed.

                167.      Defendant Primark never provided Plaintiff Defalco with a Notice of Pay Rate.

         H. Plaintiff John Ambronsino


                          ii. Background

                168.      Plaintiff Ambronsino was hired as a police officer for the Defendant CITY on

         July 6, 2011.

                169.      Plaintiff Ambronsino was promoted to Detective by the Defendant CITY in

         November, 2017.

                170.      Plaintiff Ambronsino first began participating in the PDP for the Defendant CITY

         in 2022.

                171.      At all times herein Plaintiff Ambronsino excelled in his role as a police officer,

         and detective.

                172.      Plaintiff Ambronsino first worked for the Paid Detail Program in in 2020.

                173.      At all times during his PDP detail on that date and thereafter, Defendant

         Bryant Park collectively and jointly supervised and controlled the terms of Plaintiff

         Ambronsino’s employment by, inter alia, assigning Plaintiff a radio and directing him as to: (1)

         the specific instructions and directions for the work he was to perform; (2) the specific policies

         and regulations Plaintiff was required to follow while working for D e f e n d a n t Bryant Park;

         (3) the conduct or behavior that was prohibited verses what was expected while working for

         Defendant Bryant Park; (4) the specific areas he was required to monitor and the manner in

         which he was required to patrol them; (5) suspicious activity he was required to look out for;

         (6) the manner in which he was required to respond to various incidents; (7) the specific time




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         he was permitted to take a meal break; (8) what he was required to do upon his return from

         lunch; (9) which other Officers he was required to relieve; (10) which third party vendors were

         allowed on the premises and under what circumstances; (11) which individuals were permitted

         into the building and which were prohibited; and (12) the manner in which he maintained

         his appearance, including the requirement that Plaintiff wear his eight-point hat throughout the

         entirety of the shift.

                 174.    In total, Plaintiff has worked approximately 24 PDP details for Defendants at

         Defendant Bryant Park.

                 175.    Plaintiff Ambronsino first worked for Defendant in 2020.


                         ii. Wage Violations by NYPD and Bryant Park

                 176.    Defendants NYPD and Bryant Park failed to properly pay Plaintiff for his hours

         worked on PDP details in several ways.

                 177.    Defendants NYPD and Bryant Park failed to timely pay Plaintiff for the hours

         worked on PDP details.

                 178.    Throughout the statutory period, Plaintiff’s regularly scheduled pay day is/was

         every other Friday, covering the previous 14-day time frame, including the Friday payday.

                 179.    However, Defendants NYPD and Bryant Park routinely failed to pay Plaintiff

         for his PDP tours on his regularly scheduled pay day.

                 180.    For example, on December 7, 12, and 14, 2022, Plaintiff worked for Defendant

         Bryant Park.

                 181.    Defendant Bryan Park failed to pay Plaintiff in a timely manner, waiting until

         February 6, 2023 to pay Plaintiff for his work.




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                 182.   On November 1, 9, 15, 28, and 30, 2023, Plaintiff worked for Defendant Bryant

         Park.

                 183.   Defendant Bryan Park failed to pay Plaintiff in a timely manner, waiting until

         February 5, 2024 to pay Plaintiff for his work.

                 184.   On December 4, 6, 12, 18, 20, 23, and 27, 2023, Plaintiff worked for Defendant

         Bryant Park.

                 185.   Defendant Bryan Park failed to pay Plaintiff in a timely manner, waiting until

         February 5, 2024 to pay Plaintiff for his work.

                 186.   On January 3, 8, and 18, 2024, Plaintiff worked for Defendant Bryant Park.

                 187.   Defendant Bryan Park failed to pay Plaintiff in a timely manner, waiting until

         February 8, 2024 to pay Plaintiff for his work.

                 188.   Several other Officers have confirmed to Plaintiff that Defendants also failed

         to timely pay their wages.

                 189.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Bryant Park has been subject to the same pattern and practice of failure to pay.

                 190.   As such, the Defendants have failed to compensate Plaintiff, in violation of the

         minimum wage required to pay workers in New York State under both Federal and State law.

                 191.   By so acting, the NYPD and Defendant Bryant Park have paid Plaintiff below the

         federal and state minimum wage rates and below his regular rate of pay for all hours worked.

                 192.   To the extent Plaintiff Ambronsino and those similarly situated have received any

         payments for his work for NYPD and Bryant Park, it has been several months late, on multiple

         occasions.

                 193.   This has continued for more than a year.




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                 194.   In fact, some police officers have stopped working for Bryant Park due to their

         refusal to timely pay the officers for the tours that they worked in accordance with the law.

                 195.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Bryant Park has been subject to the same pattern and practice of significant delays

         in payment, to the extent they are paid.

                 196.   Plaintiff Ambronsino and others similarly situated have work hours for NYPD

         and Bryant Park that caused their weekly total to exceed forty hours.

                 197.   For example in December 16 and 17, 2024, Plaintiff worked 10:00 hours for

         Defendant Bryant Park, a period of time that brought his weekly total in excess of forty hours.

                 198.   NYPD and Bryant Park have failed to pay to Plaintiff Ambronsino the mandatory

         overtime premium for the hours worked in excess of forty.

                 199.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Bryant Park has been subject to the same pattern and practice of being denied

         overtime pay when PDP hours cause the Officer to exceed forty in the week.

                 200.   Defendant Bryant Park never provided accurate Wage Statements for any of the

         PDP details that Plaintiff Ambronsino completed.

                 201.   Defendant Bryant Park never provided Plaintiff Ambronsino with a Notice of Pay

         Rate.

                 I.     Plaintiff Felicia Whitely

                           i.      Background

                 202.   Plaintiff Whitely was hired as a police officer for the Defendant CITY on

         September 10, 2006.




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                 203.    Plaintiff Whitely first began participating in the PDP for the Defendant CITY in

         sometime after joining the NYPD.

                 204.    At all times herein Plaintiff Whitely excelled in his role as a police officer, and

         detective.

                 205.    At all times during his PDP detail on that date and thereafter, Defendant

         Rockefeller Center collectively and jointly supervised and controlled the terms of Plaintiff

         Whitley’s employment by, inter alia, assigning Plaintiff a radio and directing him as to: (1) the

         specific instructions and directions for the work he was to perform; (2) the specific policies and

         regulations Plaintiff was required to follow while working for D e f e n d a n t Rockefeller Center

         ; (3) the conduct or behavior that was prohibited verses what was expected while working for

         Defendant Rockefeller Center ; (4) the specific areas he was required to monitor and the manner

         in which he was required to patrol them; (5) suspicious activity he was required to look out for;

         (6) the manner in which he was required to respond to various incidents; (7) the specific time

         he was permitted to take a meal break; (8) what he was required to do upon his return from

         lunch; (9) which other Officers he was required to relieve; (10) which third party vendors were

         allowed on the premises and under what circumstances; (11) which individuals were permitted

         into the building and which were prohibited; and (12) the manner in which he maintained

         his appearance, including the requirement that Plaintiff wear his eight-point hat throughout the

         entirety of the shift.

                 206.    In total, Plaintiff has worked approximately five PDP details for Defendants at

         Defendant Rockefeller Center .

                 207.    Plaintiff Whitely first worked for Defendant in 2019.


                         ii. Wage Violations by NYPD and Rockefeller Center




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                208.    Defendants NYPD and Rockefeller Center failed to properly pay Plaintiff for his

         hours worked on PDP details in several ways.

                209.    Defendants NYPD and Rockefeller Center failed to timely pay Plaintiff for the

         hours worked on PDP details.

                210.    Throughout the statutory period, Plaintiff’s regularly scheduled pay day is/was

         every other Friday, covering the previous 14-day time frame, including the Friday payday.

                211.    However, Defendants NYPD and Rockefeller Center routinely failed to pay

         Plaintiff for his PDP tours on his regularly scheduled pay day.

                212.    For example, on February 28, 2020, February 21, 2020, November 8, 2019 and

         September 27, 2019.

                213.    Defendant Bryan Park failed to pay Plaintiff in a timely manner for her work.

                214.    Plaintiff Whiteley was paid more than 15 days after the dates she worked for

         Defendant Rockefeller Center.

                215.    Several other Officers have confirmed to Plaintiff that Defendants also failed

         to timely pay their wages.

                216.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Rockefeller Center has been subject to the same pattern and practice of failure to

         pay.

                217.    As such, the Defendants have failed to compensate Plaintiff, in violation of the

         minimum wage required to pay workers in New York State under both Federal and State law.

                218.    By so acting, the NYPD and Defendant Rockefeller Center have paid Plaintiff

         below the federal and state minimum wage rates and below his regular rate of pay for all hours

         worked.




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                  219.   To the extent Plaintiff Whitely and those similarly situated have received any

         payments for his work for NYPD and Rockefeller Center , it has been several months late, on

         multiple occasions.

                  220.   This has continued for more than a year.

                  221.   In fact, some police officers have stopped working for Rockefeller Center due to

         their refusal to timely pay the officers for the tours that they worked in accordance with the law.

                  222.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Rockefeller Center has been subject to the same pattern and practice of significant

         delays in payment, to the extent they are paid.

                  223.   Plaintiff Whitely and others similarly situated have work hours for NYPD and

         Rockefeller Center that caused their weekly total to exceed forty hours.

                  224.   For example in December 16 and 17, 2024, Plaintiff worked 10:00 hours for

         Defendant Rockefeller Center , a period of time that brought his weekly total in excess of forty

         hours.

                  225.   NYPD and Rockefeller Center have failed to pay to Plaintiff Whitely the

         mandatory overtime premium for the hours worked in excess of forty.

                  226.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Rockefeller Center has been subject to the same pattern and practice of being

         denied overtime pay when PDP hours cause the Officer to exceed forty in the week.

                  227.   Defendant Rockefeller Center never provided accurate Wage Statements for any

         of the PDP details that Plaintiff Whitely completed.

                  228.   Defendant Rockefeller Center never provided Plaintiff Whitely with a Notice of

         Pay Rate.




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                J. Plaintiff Anderson Thimote

                        I. Background

                229.    Plaintiff Thimote was hired as a police officer for the Defendant CITY on January

         7, 2015.

                230.    Plaintiff Thimote first began participating in the PDP for the Defendant CITY in

         sometime after joining the NYPD.

                231.    At all times herein Plaintiff Thimote excelled in his role as a police officer, and

         detective.

                232.    At all times during his PDP detail on that date and thereafter, Defendant Zara

         collectively and jointly supervised and controlled the terms of Plaintiff Whitley’s employment

         by, inter alia, assigning Plaintiff a radio and directing him as to: (1) the specific instructions and

         directions for the work he was to perform; (2) the specific policies and regulations Plaintiff was

         required to follow while working for D e f e n d a n t Zara ; (3) the conduct or behavior that was

         prohibited verses what was expected while working for Defendant Zara ; (4) the specific areas

         he was required to monitor and the manner in which he was required to patrol them; (5)

         suspicious activity he was required to look out for; (6) the manner in which he was required to

         respond to various incidents; (7) the specific time he was permitted to take a meal break; (8)

         what he was required to do upon his return from lunch; (9) which other Officers he was

         required to relieve; (10) which third party vendors were allowed on the premises and under what

         circumstances; (11) which individuals were permitted into the building and which were

         prohibited; and (12) the manner in which he maintained his appearance, including the

         requirement that Plaintiff wear his eight-point hat throughout the entirety of the shift.




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                 233.   In total, Plaintiff has worked approximately five PDP details for Defendants at

         Defendant Zara .

                 234.   Plaintiff Thimote first worked for Defendant in 2019.


                        ii. Wage Violations by NYPD and Zara

                 235.   Defendants NYPD and Zara failed to properly pay Plaintiff for his hours worked

         on PDP details in several ways.

                 236.   Defendants NYPD and Zara failed to timely pay Plaintiff for the hours worked

         on PDP details.

                 237.   Throughout the statutory period, Plaintiff’s regularly scheduled pay day is/was

         every other Friday, covering the previous 14-day time frame, including the Friday payday.

                 238.   However, Defendants NYPD and Zara routinely failed to pay Plaintiff for his

         PDP tours on his regularly scheduled pay day.

                 239.   For example, on November 27, 2024 Plaintiff Thimote worked eight (8) hours for

         Zara.

                 240.   Defendant Bryan Park failed to pay Plaintiff Thimote in a timely manner for his

         work.

                 241.   Plaintiff Thimote was paid more than 15 days after the dates he worked for

         Defendant Zara, on January 7, 2025 .

                 242.   Several other Officers have confirmed to Plaintiff that Defendants also failed

         to timely pay their wages.

                 243.   Upon information and belief, every Officer that has worked and currently works

         for NYPD and Zara has been subject to the same pattern and practice of failure to pay.




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                244.    As such, the Defendants have failed to compensate Plaintiff, in violation of the

         minimum wage required to pay workers in New York State under both Federal and State law.

                245.    By so acting, the NYPD and Defendant Zara have paid Plaintiff below the federal

         and state minimum wage rates and below his regular rate of pay for all hours worked.

                246.    To the extent Plaintiff Thimote and those similarly situated have received any

         payments for his work for NYPD and Zara, it has been several months late, on multiple occasions.

                247.    This has continued for more than a year.

                248.    In fact, some police officers have stopped working for Zara due to their refusal

         to timely pay the officers for the tours that they worked in accordance with the law.

                249.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Zara has been subject to the same pattern and practice of significant delays in

         payment, to the extent they are paid.

                250.    Plaintiff Thimote and others similarly situated have work hours for NYPD and

         Zara that caused their weekly total to exceed forty hours.

                251.    NYPD and Zara have failed to pay to Plaintiff Thimote the mandatory overtime

         premium for the hours worked in excess of forty.

                252.    Upon information and belief, every Officer that has worked and currently works

         for NYPD and Zara has been subject to the same pattern and practice of being denied overtime

         pay when PDP hours cause the Officer to exceed forty in the week.

                253.    Defendant Zara never provided accurate Wage Statements for any of the PDP

         details that Plaintiff Thimote completed.

                254.    Defendant Zara never provided Plaintiff Thimote with a Notice of Pay Rate.




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                               FLSA COLLECTIVE ACTION ALLEGATIONS

                255.     Plaintiffs bring their FLSA claims as a collective action on behalf of themselves

         and all other similarly situated Officers who have been employed by the NYPD and

         participated in the PDP at any time during the full statute of limitations period (the “FLSA

         Collective”).

                256.     At all relevant times, Plaintiff and the FLSA Collective were similarly situated,

         had substantially similar job requirements, were paid in the same manner and under the same

         common policies, and were subject to Defendants’ practices of: (i) failing to compensate Plaintiff

         and the FLSA Collective at the federal minimum wage for all hours worked in a workweek; and

         (ii) failing and refusing to timely pay all wages owed.

                257.     At all relevant times, Defendants have been fully aware of the duties performed

         by Plaintiffs and the FLSA Collective, and that those duties are not exempt from the provisions

         of the FLSA.

                258.     Defendants’ violations of the FLSA have been willful, repeated, knowing,

         intentional, and without a good faith basis, and have significantly damaged Plaintiffs and the

         FLSA Collective.

                259.     As a result of their unlawful conduct, Defendants are liable to Plaintiffs and the

         FLSA Collective for the full amount of their unpaid and late wages, with interest, plus an additional

         equal amount as liquidated damages, plus reasonable attorneys’ fees and costs incurred by

         Plaintiffs and the FLSA Collective.

                260.     While the exact number is unknown to Plaintiff at this time, upon information and

         belief, there are approximately 6000 members of the FLSA Collective.




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                261.    Plaintiff is currently unaware of the identities of the individual members of the

         FLSA Collective.

                262.    Accordingly, the Court should require Defendants to provide Plaintiff with a list

         of all members of the proposed FLSA Collective, along with their last known home addresses,

         telephone numbers, and email addresses, so that Plaintiff may provide the members of the FLSA

         Collective with notice of this action and an opportunity to make an informed decision regarding

         whether to participate in the same.

                                           CLASS ACTION ALLEGATIONS


                A. Identity of the Class

                263.    Plaintiffs bring the NYLL claims as a class action.

                264.    Plaintiffs seeks to maintain claims, pursuant to CPLR 901 and 902, on behalf of

         themselves and a class of all other Officers who worked for the NYPD and participated in the

         PDP at any time during the full statute of limitations period (the “Class”).

                265.    Plaintiffs allege, on behalf of themselves and the Class, that the Defendants

         violated the NYLL by, inter alia: (i) failing to compensate Plaintiffs and the Class for all hours

         worked; (ii) failing to compensate Plaintiffs and the Class at their established regular rates of

         pay and in accordance with their agreed terms of employment; (iii) failing to timely pay all

         wages owed; (iv) failing to provide Plaintiffs and the Class with Notices of Pay Rate; and (v)

         failing to furnish accurate wage statements to Plaintiffs and the Class.

                266.    Plaintiff and the Class have standing to seek such relief because of the adverse

         effects that Defendants’ wage practices have had on them individually and as a group.

                267.    The wage practices described herein are part of the Defendants’ normal

         course of conduct.




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                268.    Pursuant to CPLR 902 and 903, Plaintiff’s NYLL and FIFA claims may be

         pursued by all similarly situated persons who do not opt out of the Class.

                B. Numerosity and Impracticality of Joinder

                269.    The members of the Class are so numerous that joinder is impracticable.

                270.    While the exact number is unknown to Plaintiff at this time, upon information and

         belief, there are approximately 200 members of the Class that performed work at Defendant

         Primark.

                271.    Therefore, the numerosity requirement of CPLR 902 and 903 is satisfied.

                C. Common Questions of Law and Fact

                272.    Common questions of law and fact, the answers to which will meaningfully

         advance this litigation, exist as to the Class and predominate over any questions only affecting

         the members of the Class individually.

                273.    Indeed, there are few, if any, purely individual issues in this action.

                274.    The questions of law and fact that are common to Plaintiffs and the Class include,

         without limitation.

                                a. Whether the Vendor Defendants failed to pay Plaintiffs and the Class

                                    all minimum wages owed;

                                b. Whether the Vendor Defendants failed to pay Plaintiffs and the Class

                                    all wages owed at their regular rates of pay and in accordance with

                                    their agreed terms of employment;

                                c. Whether the Vendor Defendants failed to timely pay Plaintiffs and the

                                    Class their wages;




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                                 d. Whether the Vendor Defendants failed to provide Plaintiffs and the

                                     Class with Notices of Pay Rate;

                                 e. Whether the Vendor Defendants failed to furnish accurate wage

                                     statements to Plaintiffs and the Class; and

                                 f. Whether Plaintiffs and the Class are entitled to liquidated damages

                                     and injunctive relief.

                 275.    Therefore, the common question requirement of CPLR 902 and 903 is satisfied.

                D. Typicality of Claims and Relief Sought

                276.    Plaintiffs’ claims are typical of the claims of the members of the Class they seek to

         represent.

                277.     Plaintiffs and the Class work, or have worked, for the Vendor Defendants and are,

         or were, subject to the same compensation policies and practices.

                278.    The wage practices suffered by Plaintiffs, and the damages resulting therefrom, are

         typical of the Vendor Defendants’ treatment of Officers assigned to them through the PDP,

         generally, and of the Class specifically.

                279.    Therefore, the typicality requirement of CPLR 902 and 903 is satisfied.

                E. Adequacy of Representation

                280.    Plaintiffs will fairly and adequately protect the interests of the Class because

         Plaintiffs’ interests are coextensive and aligned with those of the Class.

                281.    Plaintiffs have no interests adverse to the Class they seek to represent.

                282.    Plaintiffs are willing and able to represent the Class as fairly and vigorously as they

         pursue their similar individual claims.




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                283.    Plaintiffs have retained competent counsel who are qualified and experienced in

         employment class action litigation and able to meet the demands necessary to litigate a class action

         of this size and complexity.

                284.    The combined interests, experience, and resources of Plaintiffs and their counsel to

         competently litigate the individual and Class claims at issue in the instant action satisfy the

         adequacy of representation requirement of CPLR 902 and 903.


                                          FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE NYLL: FAILURE TO PAY AGREED UPON WAGES
                       (On Behalf of Plaintiffs and the Class against All Defendants)

                 285.    Plaintiffs, on behalf of himself and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                 286.    During the full statutory period, Plaintiffs and the Class were protected by the

         provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., and all applicable regulations thereunder.

                 287.    The NYLL requires covered employers, including the Vendor Defendants, to

         compensate Officers at their established regular rates of pay for all hours worked.

                 288.    Plaintiffs and the Class were not exempt from the requirement that the Vendor

         Defendants pay them at their established regular rates of pay for all hours worked under the

         NYLL.

                 289.    During the statute of limitations period, the Vendor Defendants have engaged in

         a common policy and practice of failing to compensate Plaintiffs and the Class at their established

         regular rates of pay for all hours worked in a workweek.

                 290.    As a result of the Vendor Defendants’ failure to compensate Plaintiffs and the

         Class at their established regular rates of pay for all hours worked in a workweek, The Vendor

         Defendants have violated the NYLL and/or applicable regulations thereunder.




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                  291.   The Vendor Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to compensate Plaintiffs and the Class in accordance with the

         NYLL.

                  292.   The Vendor Defendants’ violation of the NYLL has significantly damaged

         Plaintiffs and the Class and entitle them to recover the total amount of their unpaid wages, an

         additional equal amount in liquidated damages, prejudgment interest, and attorneys’ fees and

         costs.

                                      SECOND CAUSE OF ACTION
                    VIOLATIONS OF THE NYLL: FAILURE TO PAY MINIMUM WAGE
                       (On Behalf of Plainti.s and the Class against All Defendants)

                  293.   Plaintiffs, on behalf of themselves and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                  294.   During the full statutory period, Plaintiffs and the Class were protected by

         the provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., and all applicable regulations

         thereunder.

                  295.   The NYLL requires covered employers, including the Vendor Defendants, to

         compensate Officers at a rate not less than the applicable State minimum wage for all hours

         worked in a workweek.

                  296.   Plaintiffs and the Class were not exempt from the requirement that t h e

         V e n d o r D e f e n d a n t s pay them minimum wages under the NYLL.

                  297.   During the statute of limitations period, the Vendor Defendants have engaged in

         a policy and practice of failing to compensate Plaintiffs and the Class at a rate less than the

         applicable State minimum wage for all hours worked in a workweek.




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                  298.   As a result of the Vendor Defendants failure to compensate Plaintiffs and the Class

         at a rate not less than the applicable State minimum wage for all hours worked in a workweek,

         the Vendor Defendants have violated the NYLL and/or applicable regulations thereunder.

                  299.   The Vendor Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to compensate Plaintiffs and the Class in accordance with the

         NYLL.

                  300.   The Vendor Defendants’ violation of the NYLL has significantly damaged

         Plaintiffs and the Class and entitle them to recover the total amount of their unpaid wages, an

         additional equal amount in liquidated damages, prejudgment interest, and attorneys’ fees and

         costs.

                                       THIRD CAUSE OF ACTION
                    VIOLATIONS OF THE NYLL: FAILURE TO PAY TIMELY WAGES
                       (On Behalf of Plainti.s and the Class against All Defendants)

                  301.   Plaintiffs, on behalf of themselves and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                  302.   During the full statutory period, Plaintiffs and the Class were protected by the

         provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., and all applicable regulations thereunder.

                  303.   The NYLL requires covered employers, including the Vendor Defendants, to pay

         Plaintiffs and the Class all compensation earned in a particular workweek on the regularly

         scheduled pay day for the period in which such workweek ends.

                  304.   Plaintiffs and the Class were not exempt from the requirement that the Vendor

         Defendants timely pay them their wages.

                  305.   Throughout the statute of limitations period, the Vendor Defendants have engaged

         in a policy and practice of failing to pay Plaintiffs and the Class all compensation earned in a




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         particular workweek on the regularly scheduled pay day for the period in which such workweek

         ends.

                 306.    As a result of the Vendor Defendants’ failure to pay Plaintiffs and the Class all

         compensation earned in a particular workweek on the regularly scheduled pay day for the period

         in which such workweek ends, the Vendor Defendants have violated the NYLL and/or applicable

         regulations thereunder.

                 307.    The Vendor Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to compensate Plaintiffs and the Class in accordance with the

         NYLL.

                 308.    The Vendor Defendants’ violations of the NYLL have significantly damaged

         Plaintiffs and the Class and entitle them to recover the total amount of their unpaid wages, an

         additional equal amount in liquidated damages, prejudgment interest, and attorneys’ fees

         and costs.

                                        FOURTH CAUSE OF ACTION
                                        VIOLATIONS OF THE NYLL:
                             FAILURE TO PROVIDE NOTICES OF PAY RATE
                          (On Behalf of Plaintiffs and the Class against All Defendants)

                 309.    Plaintiffs, on behalf of themselves and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                 310.    During the full statutory period, Plaintiffs and the Class were protected by the

         provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., and all applicable regulations thereunder.

                 311.    The NYLL requires covered employers, including the Defendants City and

         Primark provide employees, “at the time of hiring, a notice containing the following

         information: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

         salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,




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         including tip, meal, or lodging allowances; the regular pay day designated by the employer [ ];

         the name of the employer; any ‘doing business as’ names used by the employer; the physical

         address of the employer’s main office or principal place of business, and a mailing address if

         different; the telephone number of the employer; plus such other information as the commissioner

         deems material and necessary,” which is commonly referred to as a Notice of Pay Rate.

                  312.    Plaintiffs and the Class were not exempt from the requirement that the

         Ve n d o r Defendants provide them with Notices of Pay Rate.

                  313.    During the statute of limitations period, the Vendor Defendants have engaged in

         a policy and practice of unlawfully failing to provide Notices of Pay Rate to Plaintiffs and the

         Class.

                  314.    As a result of the Vendor Defendants failure to provide Notices of Pay Rate to

         Plaintiffs and the Class, the Vendor Defendants have violated the NYLL and/or applicable

         regulations thereunder, including, inter alia, NYLL § 195.

                  315.    The Vendor Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to provide proper notices to Plaintiffs and the Class in accordance

         with the NYLL.

                  316.    The Vendor Defendants violations of the NYLL entitle Plaintiffs and each

         member of the Class to recover $50 for each workday the violation occurred, not to exceed

         $5,000, plus attorneys’ fees and costs.

                                              FIFTH CAUSE OF ACTION
                         VIOLATIONS OF THE NYLL: INACCURATE WAGE STATEMENTS
                           (On Behalf of Plaintiffs and the Class against All Defendants)

                  317.    Plaintiffs, on behalf of himself and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.




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                318.    During the full statutory period, Plaintiffs and the Class were protected by the

         provisions of the NYLL, N.Y. Lab. Law §§ 1, et seq., and all applicable regulations thereunder.

                319.    The NYLL requires covered employers, including the Vendor Defendants to

         “furnish each employee with a statement with every payment of wages, listing the following: the

         dates of work covered by that payment of wages; name of employee; name of employer;

         address and phone number of employer; rate or rates of pay and basis thereof, whether paid by

         the hour, shift, day, week, salary, piece, commission, or other; gross wages; deductions;

         allowances, if any, claimed as part of the minimum wage; and net wages.”

                320.    Plaintiffs and the Class were not exempt from the requirement that the Vendor

         Defendants furnish them proper wage statements.

                321.    During the statute of limitations period, the Vendor Defendants have engaged in

         a policy and practice of unlawfully failing to provide accurate wage statements to Plaintiffs and

         the Class.

                322.    As a result of the Vendor Defendants’ failure to furnish accurate wage statements

         to Plaintiffs and the Class, the Vendor Defendants have violated the NYLL and/or applicable

         regulations thereunder, including, inter alia, NYLL § 195.

                323.    The Vendor Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to provide proper wage statements to Plaintiffs and the Class in

         accordance with the NYLL.

                324.    The Vendor Defendants’ violations of the NYLL have significantly damaged

         Plaintiffs and the Class and entitle them to recover $250 for each workday the violation occurred,

         not to exceed $5,000, plus attorneys’ fees and costs.

                                       SIXTH CAUSE OF ACTION
                       VIOLATIONS OF THE FIFA: LATE PAYMENT OF COMPENSATION




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                          (On Behalf of Plaintiff and the Class against all Defendants)
           (Brought in the Alternative to Plaintiff and the Class’s Claims under the FLSA and NYLL)

                 325.    Plaintiffs, on behalf of themselves and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                 326.    In the alternative to their claims brought under the FLSA and NYLL, Plaintiffs

         and the Class allege violations of the FIFA, N.Y.C. Admin. Code §§ 20-927, et seq., and all

         applicable regulations thereunder.

                 327.    During the full statutory period, Plaintiffs and the Class were protected by

         the provisions of the FIFA and all applicable regulations thereunder.

                 328.    The FIFA requires hiring parties, including the Defendants, to pay freelance

         workers all contracted compensation on or before the date such contracted compensation is

         due under the terms of a contract or, if the contract does not specify when the contracted

         compensation is due or the mechanism by which such due date shall be determined, no later than

         30 days after completion of the freelance worker’s services under the contract.

                329.     Plaintiffs and the Class were not exempt from the requirement that the

         Defendants timely pay them their contracted compensation under the FIFA.

                330.     During the statute of limitations period, the Defendants have engaged in a policy

         and practice of hiring Plaintiffs and the Class to complete services without specifying when

         contracted compensation is due or the mechanism by which such due date shall be determined.

                331.    As a result, Plaintiffs and the Class are owed all contracted compensation within

         30 days of the completion of services by Plaintiffs and the Class.

                332.    Throughout the full statute of limitations periods, the Defendants have

         engaged in a policy and practice of failing to pay Plaintiffs and the Class all contracted




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         compensation within 30 days of the completion of services performed by Plaintiffs and the Class

         under their contracts.

                  333.   As a result of the Defendants failure to pay Plaintiffs and the Class all contracted

         compensation within 30 days of completion of services, the Defendants have violated the

         FIFA and/or applicable regulations thereunder.

                  334.   The Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to compensate Plaintiffs and the Class in accordance with the FIFA.

                  335.   The Defendants’ violations of the FIFA have significantly damaged Plaintiffs

         and the Class and entitle them to recover the total amount of their unpaid compensation, an

         additional equal amount in liquidated damages, prejudgment interest, and attorneys’ fees and

         costs.

                                       SEVENTH CAUSE OF ACTION
                    VIOLATIONS OF THE FLSA: FAILURE TO PAY MINIMUM WAGE
                       (On Behalf of Plainti.s and the Class against All Defendants)
                  336. Plaintiffs, on behalf of themselves and the Class, hereby repeat and reallege the

         foregoing allegations as if set forth fully herein.

                  337.   During the full statutory period, Plaintiffs and the Class were protected by

         the provisions of the FLSA, 29 U.S.C. Chapter 8, and all applicable regulations thereunder.

                  338.   The FLSA requires covered employers, including the Defendants, to compensate

         Officers at a rate not less than the applicable federal minimum wage for all hours worked in a

         workweek.

                  339.   The FLSA requires covered employers, including the Defendants, compensate

         Officers at the rate of time and one half for all hours in excess of forty in a week.

                  340.   Plaintiffs and the Class were not exempt from the requirement that t h e

         V e n d o r D e f e n d a n t s pay them minimum wages and overtime premium under the FLSA.




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                341.       During the statute of limitations period, the Defendants have engaged in a policy

         and practice of failing to compensate Plaintiffs and the Class at a rate equal to or above the

         applicable federal minimum wage for all hours worked in a workweek.

                342.       During the statute of limitations period, the Defendants have engaged in a policy

         and practice of failing to compensate Plaintiffs and the Class at a rate of time and one-half for all

         hours worked in excess of forty in a given week.

                343.       As a result of the Defendants failure to compensate Plaintiffs and the Class at a

         rate not less than the applicable federal minimum wage for all hours worked in a workweek, and

         failure to pay the overtime premium, the Defendants have violated the FLSA and/or applicable

         regulations thereunder.

                344.       The Defendants have acted willfully and deliberately in maintaining an

         intentional practice of failing to comply with these requirements of the FLSA.

                345.       The Defendants’ violation of the FLSA has significantly damaged Plaintiffs and

         the Class and entitle them to recover the total amount of their unpaid wages and overtime

         premium, an additional equal amount in liquidated damages, prejudgment interest, and attorneys’

         fees and costs.

                                              REQUEST FOR RELIEF

                WHEREFORE, Plaintiffs, on behalf of themselves, the FLSA Collective, and the Class,

         respectfully requests that this Court:

                A.         Declare that the practices complained of herein are unlawful under

         applicable federal, State, and City law;

                B.         Grant an injunction and order permanently restraining Defendants from

         engaging in such unlawful conduct;




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                  C.    Declare this action to be maintainable as a class action pursuant to CPLR 901

         and 902 and a collective action under FLSA;

                  D.    Instruct Defendants to provide the necessary information so Plaintiffs can give all

         putative members of the class and collective notice of this action and an opportunity to make

         an informed decision about whether to participate;

                  E.    Designate Plaintiffs as the representative of the Class, and his counsel of record

         as class counsel;

                  F.    Determine the damages sustained by Plaintiffs and the FLSA Collective as a

         result of Defendants’ violations of the FLSA, and award those damages against Defendants and

         in favor of Plaintiffs and the FLSA Collective, plus such pre-judgment and post-judgment

         interest as may be allowed by law;

                  G.    Determine the damages sustained by Plaintiffs and the Class as a result of

         the Vendor Defendants’ violations of the NYLL and FIFA, and award those damages against

         the Vendor Defendants and in favor of Plaintiffs and the Class, plus such pre-judgment and post-

         judgment interest as may be allowed by law;

                  H.    Award Plaintiff, the FLSA Collective, and/or the Class an additional equal amount

         as liquidated damages because Defendants’ violations were willful and without a good faith

         basis;

                  I.    Award Plaintiff, the FLSA Collective, and/or the Class their reasonable attorneys’

         fees and costs and disbursements in this action including, without limitation, any accountants’ or

         experts’ fees; and

                  J.    Grant Plaintiff, the FLSA Collective, and/or the Class such other and further relief

         that the Court deems just and proper.




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                                          DEMAND FOR JURY TRIAL
                Plaintiff, on behalf of himself, the NYLL Collective and the Class, hereby demand a trial

         by jury on all issues of fact and damages.

         Dated: January 27, 2025
                New York, NY

                                                       Respectfully submitted,

                                                       Law Office of John A. Scola, PLLC
                                                       Attorneys for Plaintiffs and the Putative Class and
                                                       Collective
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                                                      Attorneys for Plaintiffs and the Putative Class and
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                                                 VERIFICATION



         STATE OF NEW YORK  )
         COUNTY OF NEW YORK )


         I, the undersigned, an attorney duly admitted to practice law in the State of New York, under
         penalties of perjury do affirm.

         That I am the attorney of record for the plaintiff in the within matter and make this affirmation in
         accordance with CPLR 3020. I have read the within VERIFIED COMPLAINT and know the
         contents thereof to be true to your affirmant’s own knowledge, with the exception of those matters
         therein stated to be alleged upon information and belief. Your affirmant bases her belief regarding
         those matters upon the contents of the file and conversation with witnesses and the claimant.

         This verification is made by your affirmant and not by the claimant for the following reason: The
         claimants resides in a different County than where your affirmant maintains an office.

         Dated: New York, New York
                January 27, 2025
                                                              _________/s/______________
                                                              JOHN SCOLA




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